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Ryan Lee, Esq. (SBN 277476)

Krobn & MOSS, Ltd. _

10474 Santa Monica Blvd., Suite 405

Los Angeles, CA 90025

T: (323) 988-2400 X241; F: (866) 385-1408
RIee@consumerlawcenter.com

Attomeys for Plainti.`ff,

 

   

MOISBS ROSALES
UNITEB STATES DISTRIC'I` COURT,
CENTRAL I)ISTRIC'I_` OF CALIFORNIA,
WESTERN DIVISION-LOS ANGELES
MO:SES ROSALES, ) Casé' § 34 m § §§ §§
) '§ l » ..`»:=r
Plaintiff, ) COMPLAINT
)
v. ) (Unl'awful Debt Collection Practices)
)
CENTRAL PORTFOLIO )
CONTROL, INC. )
)
Defendant. )

 

MOISES ROSALES (Plaintiff), by his attorneys, KROH`N & MOSS, LTD., allege$ the
following against CENTRAL PORTFOLIO CONTR_OL, INC. (Defendant):
INTRODUCTION
l. Count I Of Piaintiff"s Complaint is based on the Fair Deb€: Coliection Practices Act, 15
U.S.C. 1692 et Seq. (FDCPA).
2. Cc)unt II of the Plaintiff" S Complaint is based on Rosenthal Fair Debt Collection
Practic:es Act, Cal. Civ. Code §1788 et seq. (RFDCPA).

3. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, ¢principals,. trustees, sureties, _Subro_gees,\r.epresentatives,._,ins_.u,r_@;$_,__ \

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15.

J"URISDICTION AND VENUE
Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), Which states that such
actions may be brought and beard before “any appropriate United States district court
Without regard to the amount in controversy,” and 28 U.S.C. l367 grants this court
supplemental jurisdiction over the state claims contained therein
Defendant conducts business in the state of California, and therefore, personal
jurisdiction is established
Venue is proper pursuant to 28 U.S.C. 1391(’0)(2).

PARTIES

' Plaintil:`ic is a natural person residing in Los Angeles, Los Angeles County, Caiifornia.

Piaintift` is a consumer as that term is defined by 15 U.S.C. l692a(3), and according to
Defendants, Piaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5)-
and Cal. Civ. Code § l?SS.Z(h).
Defendants are debt collectors as that term is defined by 15 U.S.C. l692a(6) and Cal.
Civl Code §l788.2(c), and sought to collect a consumer debt from Plaintiff.
Defendant is a Corporation with its headquarters in Eden Prairie, Minnesota.

FACTUAL ALLEGATIONS
Defendant placed calls to Plaintiff in an attempt to collect an alleged debt owed to Bank
of Anierica.
Plaintiff’s alleged debt arises from transactions for personal, family, and/or household
pw'poses.
Defendant~places calls-from numbers including,- but not»limited~to,¢-BZB ~2~04~0982.¢ 1 -
ln or around December of 2013, Defendaut placed a call to PlaintifF s place of
employment at 310~532-94§{){.

During the course of the call in Decernber 2013, Plaintiff' s co-Woricer informed

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Det`endant that i’laintiff could not receive personal calls at work, and requested that
Det`endant cease calling

16. After being infoirned that Plaintiff Was not permitted to receive personal calls at work,
Defendant placed at least three (3) subsequent collection calls to Plaintiff’s place of

employment
COUNT I
I)EFENDANT VIOLATED THE FAIR })EBT COLLECTION PRACTICES ACT
17. Defendant violated the FDCPA based on the following
a. Defendant violated § 1692c(a)(3) of the FDCPA when Defendant communicated
information regarding the alleged debt with third parties
b. Defendant violated § l692d of the FDCPA by engaging in conduct the natural
consequence of vvhich is to harass, oppress, or abuse any person in connection
with the collection of a debt
c. Dei`endant violated § 1692d(5) of the FDCPA by causing a telephone to ring
repeatedly and continuously With the intent to barass, oppress, and annoy
Plaintitt`.
WHEREFORE, Plaintiff, MOISBS ROSALES, respectfully requests judgment be entered
against Defendants, CENTRAL PORTFOLIO CONTROL, lNC. for the following:
18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15
U.S.C. 16921<,
19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
- 15 U-.~-S-.G.- 1-692-1€,~-~

20. Any other relief that this Honorable Court deems appropriate

V`ER_`[FIED COMPLAINT

 

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COUNT II
DEFENDANT VI()LATED THE ROSENTHAL FAIR I)EBT COLLECTION
PRACTICES AC'I`

21. Plaintiff repeats and realleges all of the allegations in Count l of Plaintist Cornplaint as
the allegations in Count ll of Plaintift`s Cornplaint.
22. Defendant violated the RFDCPA based on the foilowing:
a. Det`endant violated § l788.l l(d) of the RFDCPA by causing a telephone to ring
repeatedly or continuousiy to annoy the person called,
b. Defendant violated § 1788.17 of the RFDCPA by continuously failing to comply
With the statutory regulations contained Within the FDCPA, 15 U.S.C. § 1692 er
seq.
Wl~lEREFORE, Plaintifi`, MOJSES ROSALES, respectfully requests judgment be entered
against Defendant, CENTRAL PORTFOLIO CONTROL, lNC. for the following:
23. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection
l`~’ractices Act, Cal- Civ. Code §l788,30(b),
24. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection

Practices Act, Cal. Civ Code § 1788.30(c), and

minn away 15, 2014

 

By:

 

" Ryan Lee
Attorney for Plaintift`

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VERIFIED COMPLA{NT

 

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COVER SHEET

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l. (a} PLA!NT|FFS ( Check box if you are representing yourself l:] }

N'\O|SES ROSAL€S

DEF ENDANTS

{ Check box if you are representing yourself [:§ )

CENTRAL POR'§'FOL§O CONTROL, |NC

 

1b1 Attoroeys (Firm Name, Address and Telephone Number. it you
provide same intormation.)

are representing yol.u'seltl

Krobn & Moss, i_td.; Ryan t.ers,

CA 90025 1323) 988-2400

Esq, ‘l0474 Santa Monica Blvd,, Sulte 405; Los Angelas,

 

{b) Attorneys (?irrn Name, Acidress and Teiepbone Number. lt you
are representing yourself, provide same informatien.)

 

 

 

 

ll. BAS!S OF JURISD|CTION (Place an X in one box only.) IIL ClTlZEl\lSH|P OF PRINCEPAL PARTIES~For D'rversity Cases On!y
{P§ace an X in one box for plaintiff and one for defendant)
1. U.S. Government 3. Federal Question {U.S. szen Df-l-his State §§ 1 §§ incorporated or Prtncipa| P§ace EF 4 §§F 4
P!aintiff C~`»ovemment Not a Party) _ me BUS'"&SS m lms Stal@
C"T‘ZE" of A"thef Slla'f@ § 2 I:j 2 incorporated and Priricipal P|ace |:l 5 m 5
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Proceeding State Court m Appe!late Court l:] Reopened :] DiStriCt (SP@CiFy) § §_',~:~,D:att:§§
V. REQUESTED IN COMPLAINT: JURY E)EMAND: Yes [:] I\Eo (Che€k "Yes" only if demanded in complaint-l
CLASS ACT|ON under F.R.CV.P. 23: ij Yes No l:] MONEY DEMANDED l|‘\l COMPLAZN?: $

 

Vl. CAUSE OF ACT§ON (Cite the U.S. Civil Statute under Which you are tit

t5 USC 1692 et seq,; Unlawfu| and Abus'lve Debt Col|e<;tion Pract`rcas

ing and write a brief statement of cause Do not citejurisdict`sona| statutes unless d'sversity.)

 

 
 
     

Vll. NATURE OF SUZT (

  
   

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Ui\llTED S“E‘ATES §}., ¢`RECT COURT, CENTRAL DESTE§§C? @F _ _1l.lFORNiA
CiVII.. COVER SHEET

Vlll. VENU E: ¥our answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned 'i`his initial assignment
is subject to change, in accordance with the Coutt`s General Orders, upon review by the Court of your Cornplaint or Notice of Removal.

 

 

 
 
 

Question A: Was this case removed from
state court?

l:| Yes No

lf"nor " go to Question B. if "yes," check the l:] ventura,Santa Barbata, or San Luis Obispo
box to the right that applies, enter the
corresponding division in response to ij Orange gouth€m
Question D, below, and skip to Section l>(.

 

~a?
Western

 

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Question B: is the United States, or one of
its agencies or enn:»k:¢yeesl a party to this
action? '

 

 

 

 

[:] Yes No

lt "no, " go to Question C. |f "yes," check the :l LOS Ang@i€$ [:] Los Angeles Western

box to the right that ap_p;‘@$' enter the Ventura, Santa Barbara, or Sar\ i_uis Ventura, Santa Barbara, or San !_uis

correspondeng dlvlsaon in response to l:l Obispo il Ob-|spo Westem

Question D, below, and skip to Section IX.
[:| Orange ij Orange Southern
ij Riverside or San Bernard`rno |:] R'zversicie or San Bernardino , Eastern
l:l Other [E Other Western

 

 

 

 

 

    

indicate the location in which a
majozity of plaintiffs reside:

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indicate the location in which a

 

 

   

 

 

   

 

 

 

 

C.1. is either of the following true? if so, check the one that appiies: C.2. ls either of the following true? if so, check the one that applies:
l::i 2 or more answers in Coiumn C §:_l 2 or more answers in Column D
l::| only 1 answer in Coiomn C and no answers in Coiurnn D l:l only 1 answer in Column D and no answers in Column C
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SOUTHERN DlV|SlOl\l. EA!:`|'ERN DlVlS|O¥\l.
Enter "Soothern“ in response to Questior\ D, below. Erlter "Eastern" in response to Question D, below.
if none appliesl answer question C2 to the right umw if none appiies, go to the box below. g

 

 

Your case will inltla§ly be assigned to the
W§STERN D|VlSlON.
Enter "Wester'n" in response to Question 13 beiow.

 

 

 

 

WES"¥"ERN

 

 

 

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CaSe 2:14-Cv-OO442-S.]O-AGR Document 1 Filed 01/21/14 Page 7 of 7 Page |D #:12
UNZTED STA ,S DISTRECT COURT, CENTRAL l)i§'i'Ri OF CA§.Ei-‘ORNYA

 

Cl\fll_ COVZR SHEE‘§“
lX(a). !DENT¥CAL CASES: l~las this action been previously filed in this court and dismissed remanded or ciosed? NO [:] YES
if yes, list case number{s):
lX(b}. RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO l: YES

if yes. list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check an boxes that appiyl l:; A. Arise from the same or closely restated transactiol'isf happenings, or events; or

l:j B. Cail for determination of the same r bstantia%ly related or similar questions of law and fact; or

 
 
   

m C, For otherr reasons would ant ` ubs ntial duplication of labor if heard by differentjudges; or

m D, |nvo§ve the same patent, dem rl< or copyrightg and one of the factors identified above in a, b or c also is present

x. ssGNA“ruRe or= At‘roRNsY / ¢\
roe sELF~REPRESENreo unamle ` DATE= 1/35/2014
Notice to Counsel/Parties: The CV-?i (JS-44) C‘zvi§ Cover Sheer and the information contained herein neither replace nor supplement the §ling and service of pleadings or

other papers as required by law. This form, approved by the judicial Conference of the United States in September 1974, is required pursuant to Loca| Ruie 3-1 is not filed
but is used by the C|erk of the Court for the purpose of statistics venue and initiating the civil docket sheet, (For more detailed instructionsf see separate instructions sheet).

 

 

Key to Statisticai codes relating to Social Secur§ty Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

A|| claims for health insurance benefits [Medicare) under Title 18, Pait A, of the Socia| Security Act, as amended Also,

351 HIA include claims by hospitalsf skilled nursing facilities etc., for certincation as providers of services under the program
(42 U.S.C. lQSSFF(b))

862 BL A|i cia':rns for "Slaci~'. Lung“ benefits under 'i'itie 4, Part B, of the Federa| Coal fviine i-iea|th and Safety Act of 1969. (3{1 U,S.C.
923)

863 D|WC A|l claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
ali claims filed for chiid's insurance benefits based on disability {42 L}.S.C. 405 (g))

363 DlW A|| claims filed for widows or Widowers insurance benefits based on disability under Title 2 of the 50cial Security Act, as
amended {42 U.S.C. 405 (g))
Al§ claims for supplemental security income payments based upon disability filed under iitle 16 of the Socia| Securlty Act, as

864 SSlD amended.

865 RSl A|| claims for retirement lo|d age) and survivors bene§ts under iitie 2 of the Soc§ai Security Act, as amended

142 u.S.C. 405 (g))

 

C\r'-7‘l [09}"% 3) CW!L COVER SHEET Page 3 of 3

